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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                      :
JESSE HAMMONS
                                      :

     v.                               :   Civil Action No. DKC 20-2088

UNIVERSITY OF MARYLAND MEDICAL       :
SYSTEM CORPORATION, et al.
                                      :

                             MEMORANDUM OPINION

     Plaintiff Jesse Hammons (“Plaintiff” or “Mr. Hammons”), a

transgender man, sued Defendants, University of Maryland Medical

System Corporation (“UMMS”), UMSJ Health System, LLC (“UMSJ”), and

University   of   Maryland    St.   Joseph   Medical   Center,    LLC   (“St.

Joseph”) (collectively, “Defendants”), pursuant to Section 1557 of

the Affordable Care Act (“ACA”), 42 U.S.C. § 18116(a), claiming

sex discrimination in Defendants’ refusal to allow him to have a

hysterectomy performed at their hospital to treat his gender

dysphoria.   Two other claims, brought under 42 U.S.C. § 1983, for

violation of the Establishment Clause of the First Amendment and

the Equal Protection Clause of the Fourteenth Amendment, were

dismissed on Defendants’ motion (ECF No. 52). The motion was filed

by all three defendants, as a unit, and contended, inter alia,

that they are private corporations that cannot be sued under 42

U.S.C. § 1983, or, alternatively, if they are found to be state
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actors, they are entitled to sovereign immunity on those claims. 1

In agreeing with Defendants on the latter argument, this court

found that UMMS is an arm or instrumentality of the government for

the purposes of Plaintiff’s assertion of claims under § 1983 as

well as for the purposes of sovereign immunity. This court treated

the three Defendants “as a single entity for the purposes of” the

motion to dismiss because Defendants treated themselves as such in

their motion and the facts supported that approach.             (ECF No. 52

at 22).   Mr. Hammons subsequently moved for reconsideration or, in

the alternative, certification of interlocutory appeal, and this

court denied that motion. (ECF Nos. 56, 64). Defendants answered,

and a scheduling order was entered.

     Some months later, the three defendants moved for leave to

amend their answer to plead two “alternative affirmative defenses

based on the ecclesiastical abstention doctrine and Religious

Freedom Restoration Act (‘RFRA’), 42 U.S.C. §§ 2000bb, et seq.”

(ECF No. 73-1 at 2).         They specifically recognized that these

defenses would only apply if they were “private entities.”                   (ECF

No. 73-1 at 7).     Plaintiff opposed the motion, arguing that the


     1 Defendants did not argue that sovereign immunity applied to
the Section 1557 claim. Since this court decided the motion to
dismiss, the United States Court of Appeals for the Fourth Circuit
confirmed that “Section 1557 of the [Affordable Care Act]
unequivocally conditions the receipt of federal financial
assistance upon a state’s waiver of sovereign immunity against
suits for money damages.”    Kadel v. N.C. State Health Plan for
Tchrs. and State Emps., 12 F.4th 422, 439 (4th Cir. 2021).
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court had already ruled that Defendants were not private entities,

so any amendment to assert these defenses would be futile.                     (ECF

No. 74 at 8).         In reply, Defendants argued that, inasmuch as

discovery remained ongoing, it was seeking to preserve these

“alternative” affirmative defenses.            (ECF No. 77 at 3).              They

suggested that further proceedings in this case might alter the

court’s earlier ruling that all three entities were state actors.

In considering the motion, the court observed that all evidence of

the defendants’ status, governance, and operation was, and had

been, in defendants’ possession, but that an appeal was indeed

possible, even likely.         Despite the fact that it was not at all

obvious how a RFRA defense would apply to a claim by a private

person, or what role the ecclesiastical abstention doctrine might

play, the court granted the motion.           (ECF No. 81).

       Now, discovery is complete, and both parties have filed

motions for summary judgment.          (ECF Nos. 98, 105).         Also pending

are   motions    to   file   certain   documents   under    seal    and    others

publicly, filed by both Plaintiff and Defendants.               (ECF Nos. 100,

104, 113).      The issues have been briefed, and the court now rules,

no hearing being deemed necessary.            Local Rule 105.6.           For the

following reasons, Plaintiff’s motion for summary judgment will be

granted, Defendants’ motion for summary judgment will be denied,

Defendants’ motion to seal will be granted in part and denied in

part, and Plaintiff’s motions to seal certain documents and file

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certain documents publicly will be granted in part and denied in

part.

I.    Factual Background

      Unless otherwise noted, the following facts are undisputed.

UMMS was created by Maryland statute in 1984 to provide medical

care to the state and region.             Md. Code, Educ. § 13-302.          It is

based in the University of Maryland and operates a system comprised

of hospitals and member organizations. 2               See About Us, Univ. of

Md. Med. Sys., https://www.umms.org/about (last visited Jan. 3,

2023).      UMMS is bound by Maryland law to “operate the medical

system without discrimination based upon race, creed, sex, or

national origin.”       Md. Code, Educ. § 13-303(d).

      St. Joseph is one of the hospitals that UMMS operates.                    It is

a limited liability company (“LLC”) with one member—UMSJ—that is

wholly owned by UMMS.         (ECF No. 99-4 at 4, 6).           Thus, St. Joseph

is a wholly owned subsidiary of UMMS.                 (ECF No. 105-10 at 5, 8,

23). All parties in this case refer to UMSJ and St. Joseph together

as   “St.    Joseph”    and   do    not   distinguish         between   those     two

defendants—this        opinion     will   do    the    same    unless   otherwise

indicated. 3   (ECF Nos. 98-1 at 11, 105-1 at 15-16).               UMMS directly


      2The materials submitted by Defendants recite that there are
ten member organizations. (ECF No. 98-4 at 3). The website lists
eleven hospitals.

      3Unlike earlier in this litigation, Defendants now try to
separate the two St. Joseph entities from UMMS when this strategy
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appoints two members of St. Joseph’s board, must approve the

appointment and removal of the CEO and President, and must approve

certain board actions. 4       (ECF No. 99-4 at 6-8, 10, 23).       All three

Defendants have admitted that they have received federal funds in

the form of “payments for patient procedures covered by Medicare

and Medicaid.” 5    (ECF No. 83 at 9).        However, Defendants assert,

and Plaintiff does not dispute, that St. Joseph directly receives

its own stream of federal funds.          (ECF Nos. 98-1 at 12, 98-7 at

3).

       The medical center was owned and operated as a Catholic

hospital by Catholic Health Initiatives prior to being purchased

by UMMS.    (ECF No. 99-1 at 8, 86).      When UMMS purchased the medical




better fits their purposes. Whether they succeed will be discussed
later.

       The parties seem to dispute whether UMMS also has the
       4

authority to appoint the other sixteen members of St. Joseph’s
board. (ECF No. 111 at 19 n.1). St. Joseph’s Operating Agreement
provides that “The Member,” UMSJ, “shall have the power and
authority to elect all of the” other board members from a slate of
nominees submitted by the Nomination/Governance Committee of the
St. Joseph board, and at least one of the two directly-appointed
UMMS directors shall serve on that committee. (ECF No. 99-4 at
10-11). However, the boards of St. Joseph LLC and UMSJ LLC consist
of the same members. (ECF No. 99-1 at 86; see also ECF Nos. 105-6
at 13, 105-11 at 6). At a minimum, UMMS is indirectly involved in
the selection of St. Joseph’s entire board.

       While all three Defendants “admit they have received”
       5

federal funds, (ECF No. 83 at 9), it is unclear whether UMMS and
UMSJ receive their own separate stream of federal funds or whether
they receive federal funds indirectly through the hospitals they
operate.
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center in 2012, a condition of the “Asset Purchase Agreement” was

that “UMMS . . . shall continue to operate [St. Joseph] in a manner

consistent    with     Catholic   values      and     principles,”       including

complying with a “formal reporting mechanism” to ensure St. Joseph

is held accountable for its “Catholic identity.” 6                  (ECF No. 99-1

at 86).    Specifically, UMMS agreed to ensure that St. Joseph’s

board    implemented    the   Ethical       and   Religious        Directives      for

Catholic Health Services (the “ERDs”), as promulgated by the United

States Conference of Catholic Bishops, in St. Joseph’s provision

of health care.      (ECF No. 99-1 at 86).          UMMS also agreed that at

least one seat on St. Joseph’s board would be a representative of

the Archdiocese of Baltimore.       (ECF No. 99-1 at 85).

     Around the time of the sale, each of the defendants entered

into a “Catholic Identity Agreement” with the Roman Catholic

Archbishop of Baltimore, which provided a “framework within which

to continue authentic Catholic traditions and practices” at St.

Joseph.    (ECF No. 99-2 at 2-3).            This agreement provides that,

every two years, St. Joseph “will undergo an audit of its adherence

to the” ERDs by the National Catholic Bioethics Center.                    (ECF No.

99-2 at 8).




     6 The motion to seal this exhibit in its entirety will be
denied without prejudice to the filing of a motion to redact
certain portions upon a showing of need.
                                        6
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     The     ERDs   provide,        as   relevant         here,     that   “[d]irect

sterilization of either men or women . . . is not permitted in a

Catholic health care institution” but that “[p]rocedures that

induce sterility are permitted when their direct effect is the

cure or alleviation of a present and serious pathology and a

simpler treatment is not available.”              (ECF No. 98-18 at 20).            The

ERDs also provide that “[t]he functional integrity of the person

may be sacrificed to maintain the health or life of the person

when no other morally permissible means is available.”                     (ECF No.

98-18 at 15).        The National Catholic Bioethics Center, which

regularly audits St. Joseph for compliance with the ERDs, has

issued a guidance document that states:

           Gender   transitioning    of   any   kind   is
           intrinsically disordered[] because it cannot
           conform to the true good of the human person,
           who is a body-soul union unalterably created
           male or female. Gender transitioning should
           never be performed, encouraged, or positively
           affirmed as a good in Catholic health care.
           This includes surgeries, the administration of
           cross-sex hormones or pubertal blockers, and
           social or behavioral modifications.

(ECF No. 107-3 at 2).

     Dr. Gail Cunningham, St. Joseph’s Chief Medical Officer, was

designated    to    testify    on    St.       Joseph’s    behalf,     pursuant      to

Fed.R.Civ.P. 30(b)(6), about St. Joseph’s adherence to the ERDs,




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among other things. 7 (ECF No. 105-1 at 15 n.2). In her deposition,

she testified that she did not “have any reason to believe that”

the National Catholic Bioethics Center’s guidance did not apply at

St. Joseph.          (ECF No. 105-6 at 39).             She also testified that St.

Joseph “prohibits medical personnel from participating in all

gender transitions or . . . gender[-]affirming treatments for

transgender          patients,”      for     “both          surgical     and     nonsurgical

treatments.”         (ECF No. 105-6 at 57-58).

        Mr. Hammons is a transgender man who has been diagnosed with

gender dysphoria.           (ECF No. 105-3).           Gender dysphoria is a medical

condition       recognized      by    the        International         Classification        of

Diseases-10          and   International          Classification         of    Diseases-11,

published by the World Health Organization, and by the Diagnostic

and Statistical Manual of Mental Disorders, published by the

American Psychiatric Association.                     (ECF No. 105-5 at ¶ 21).               The

World Professional Association for Transgender Health has issued

guidelines       (the      “WPATH    Standards         of    Care”)    for     the   clinical

management of individuals with gender dysphoria that are widely

recognized among healthcare professionals in the United States.

(ECF No. 105-5 at ¶ 24).              See also Grimm v. Gloucester Cty. Sch.

Bd., 972 F.3d 586, 595 (4th Cir. 2020), cert. denied, 141 S. Ct.

2878        (2021)    (recognizing         the       WPATH     Standards       of    Care    as



       Defendants do not dispute this characterization of Dr.
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Cunningham’s status as a deponent.
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“represent[ing] the consensus approach of the medical and mental

health community [for treating gender dysphoria that] have been

recognized     by     various    courts,         including    this    one,     as    the

authoritative       standards     of    care”).          According    to    the     WPATH

Standards of Care, “for many [transgender individuals], surgery is

essential    and    medically        necessary      to    alleviate    their      gender

dysphoria.”     (ECF No. 105-5 at ¶ 28).

       Mr.   Hammons    met     with    Dr.      Steven   Adashek,     an    attending

physician at St. Joseph, on September 4, 2019, for a consultation

regarding a hysterectomy to treat his gender dysphoria.                      (ECF Nos.

99-5 at 9, 107-6 at 5-7).            A hysterectomy is a surgery to remove

a person’s uterus. (ECF No. 105-5 at ¶ 29). Dr. Adashek determined

that a hysterectomy was the proper treatment for Mr. Hammons’s

gender dysphoria, and Dr. Adashek’s office scheduled Mr. Hammons’s

surgery to take place at St. Joseph on January 6, 2020, based on

Dr. Adashek’s and Mr. Hammons’s availability.                    (ECF No. 107-6 at

7, 9-12).     To prepare for the surgery, Mr. Hammons underwent pre-

operative     blood    tests,     an     echocardiogram,        and    other      health

screenings.     (ECF No. 105-3 at ¶ 9).

       On December 24, 2019, Dr. Adashek called Dr. Cunningham to

discuss Mr. Hammons’s upcoming surgery.                   (ECF No. 105-6 at 64).

Dr. Adashek told Dr. Cunningham that he was scheduled to perform

a hysterectomy on a patient for the purpose of gender transition,

and    Dr.   Cunningham       told     Dr.    Adashek,     “[N]o,     we    cannot     do

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transgender surgery at St. [Joseph].”              (ECF Nos. 105-6 at 64, 67-

68).       Dr. Cunningham testified that “the fact that it was a gender

transition treatment . . . was enough to deny [permission to

perform the surgery].”         (ECF No. 105-6 at 69).        On January 5, 2020,

the night before the surgery, Dr. Adashek called Mr. Hammons to

inform him that the surgery would have to be cancelled due to the

fact that the surgery was for the purpose of treating gender

dysphoria, as opposed to another medical diagnosis.                     (ECF Nos.

105-3 at ¶ 12, 107-6 at 13-14, 98-9 at 24, 26-27, 35).                             Mr.

Hammons’s surgery was rescheduled at another hospital, and after

undergoing       another   round   of    pre-operative       tests,     he   had    a

hysterectomy on June 24, 2020. 8              (ECF Nos. 99-6 at 33, 105-3 at

4).

       On January 30, 2020, Dr. Adashek was asked to attend a meeting

with Dr. Cunningham and other St. Joseph doctors to discuss Mr.

Hammons’s cancelled surgery.            (ECF Nos. 105-6 at 70-71, 107-6 at

19-20).       At the meeting, it was discussed that the surgery was

cancelled because “[i]t was inconsistent with the ERDs.”                       (ECF

Nos. 105-6 at 74, 107-6 at 22).

       Dr. Cunningham testified, on behalf of St. Joseph, that

“hysterectomies are frequently performed . . . at St. Joseph to



       Mr. Hammons’s rescheduled surgery was six months later in
       8

part because of the onset of the COVID-19 pandemic as well as Mr.
Hammons’s difficulty in taking time off from work for the surgery
and recovery. (ECF Nos. 105-3 at 4, 107-6 at 32-33).
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treat certain medical conditions” and that “putting aside gender

dysphoria, [it is] true that so long as [a] hysterectomy is

consistent with the standard of care for a given diagnosis, the

hysterectomy may be performed [at St. Joseph].”            (ECF No. 105-6 at

30, 57).

II.    Standard of Review

       A court may grant summary judgment only if there is no genuine

dispute as to any material fact and the moving party is entitled

to judgment as a matter of law.        Fed.R.Civ.P. 56(a); Celotex Corp.

v. Catrett, 477 U.S. 317, 322 (1986); Emmett v. Johnson, 532 F.3d

291, 297 (4th Cir. 2008).          A dispute about a material fact is

genuine “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.”             Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).

       “A party opposing a properly supported motion for summary

judgment ‘may not rest upon the mere allegations or denials of

[his] pleadings,’ but rather must ‘set forth specific facts showing

that there is a genuine issue for trial.’”         Bouchat v. Balt. Ravens

Football Club, Inc., 346 F.3d 514, 522 (4th Cir. 2003) (quoting

former Fed.R.Civ.P. 56(e)) (alteration in original).                   “A mere

scintilla of proof . . . will not suffice to prevent summary

judgment[.]”     Peters v. Jenney, 327 F.3d 307, 314 (4th Cir. 2003).

“If the evidence is merely colorable, or is not significantly

probative, summary judgment may be granted.”             Liberty Lobby, 477

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U.S. at 249–50 (citations omitted).         At the same time, the court

must construe the facts that are presented in the light most

favorable to the party opposing the motion.          Scott v. Harris, 550

U.S. 372, 378 (2007); Emmett, 532 F.3d at 297.

     “When cross-motions for summary judgment are before a court,

the court examines each motion separately, employing the familiar

standard under Rule 56 of the Federal Rules of Civil Procedure.”

Desmond v. PNGI Charles Town Gaming, LLC, 630 F.3d 351, 354 (4th

Cir. 2011).     The court must deny both motions if it finds there is

a genuine dispute of material fact, “[b]ut if there is no genuine

dispute and one or the other party is entitled to prevail as a

matter of law, the court will render judgment.”               10A Charles A.

Wright, et al., Federal Practice & Procedure § 2720 (4th ed. 2022).

The court has an “affirmative obligation . . . to prevent factually

unsupported claims and defenses from proceeding to trial.” Drewitt

v. Pratt, 999 F.2d 774, 778-79 (4th Cir. 1993) (internal quotation

marks omitted).

III. Analysis

     Plaintiff argues that he is entitled to summary judgment

because   the   undisputed   facts   establish    that       Defendants   have

discriminated against him on the basis of his sex.             (ECF No. 105-1

at 11-12).      Defendants argue that they are entitled to summary

judgment on three bases: 1) UMMS is not a proper defendant because

St. Joseph was the relevant “funding recipient” under Section 1557,

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not UMMS; 2) an injunction issued by the United States District

Court for the District of North Dakota binds this court and

requires dismissal; and 3) Defendants’ conduct did not constitute

intentional discrimination on the basis of sex.               (ECF No. 98-1 at

8-9).    Defendants also oppose Plaintiff’s motion for those reasons

and because 1) Plaintiff’s positions rely on disputed facts about

Defendants’ policies and corporate relationships and 2) St. Joseph

is protected by the Religious Freedom Restoration Act (“RFRA”).

(ECF No. 111 at 8-9).

     A. Plaintiff’s Motion for Summary Judgment

     Plaintiff argues that he is entitled to summary judgment

because    the   undisputed   facts   establish    that   his     surgery       was

cancelled because it “was meant to treat his gender dysphoria,”

and Defendants have a “policy of refusing to provide gender-

affirming care.”     (ECF No. 105-1 at 27, 29).        He argues that this

constitutes discrimination on the basis of sex. 9                On the other

hand, Defendants argue that the undisputed facts establish that

they have not engaged in intentional sex discrimination because

“the ERDs apply neutrally to all patients,” and “the ERDs do not

allow for St. Joseph to perform sterilization procedures (for




     9 The question of which, if any, of the Defendants may be held
responsible for any sex discrimination will be discussed in later
sections.
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either       sex)    or   procedures    that   result    in   the    removal    of   a

physically healthy organ.”             (ECF No. 98-1 at 28-29).

        Section 1557 provides that

                an individual shall not, on the ground
                prohibited under title VI of the Civil Rights
                Act of 1964 (42 U.S.C. 2000d et seq.), title
                IX of the Education Amendments of 1972 (20
                U.S.C. 1681 et seq.), the Age Discrimination
                Act of 1975 (42 U.S.C. 6101 et seq.), or
                section 794 of Title 29, . . . be subjected to
                discrimination under[] any health program or
                activity, any part of which is receiving
                Federal financial assistance[.]

42 U.S.C. § 18116(a). 10        Therefore, as under Title IX, Section 1557

prohibits discrimination “on the basis of sex.”                      See 20 U.S.C.

1681.        Upon review of the parties’ statements of undisputed facts

and the exhibits to their motions, the undisputed facts establish

that the cancellation was discrimination on the basis of sex

because it was pursuant to a policy against providing gender-

affirming care—a policy that in practice permits all patients to

obtain       doctor-recommended,       medically    necessary       hysterectomies,

except        transgender     patients     seeking      treatment       for    gender

dysphoria.          Defendants’ attempt to frame the policy as neutrally

applicable is unavailing.



        Courts look to cases brought under Title VI, Title IX,
        10

Section 504 (section 794 of Title 29), and the Age Discrimination
Act for guidance in interpreting this section.      See 42 U.S.C.
§ 18116(a) (“The enforcement mechanisms provided for and available
under such title VI, title IX, section 794, or such Age
Discrimination Act shall apply for purposes of violations of this
subsection.”).
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       Dr. Cunningham, testifying as St. Joseph’s Rule 30(b)(6)

corporate designee, stated that St. Joseph “prohibits medical

personnel from participating in all gender transitions or . . .

gender[-]affirming treatments for transgender patients.”                                 (ECF No.

105-6       at   57).        Defendants      have       identified      no    evidence      that

contradicts this statement.                   Additionally, undisputed evidence

establishes that St. Joseph abides by the ERDs, as required by the

Asset Purchase Agreement and Catholic Identity Agreement.                                     And

Defendants do not dispute that St. Joseph’s interpretation of the

ERDs corresponds with the guidelines promulgated by the National

Catholic         Bioethics       Center       as    prohibiting             gender-affirming

treatment—Dr. Cunningham’s testimony supports this as well.                                 (ECF

No. 105-6 at 39).

       It may be true that St. Joseph prohibits medical personnel

from performing hysterectomies on all individuals, regardless of

sex,    who      do    not   have    a    medical       need    for    that    surgery—i.e.,

individuals who seek a hysterectomy solely for the purpose of

elective sterilization.               However, Mr. Hammons did have a medical

need    for      his    requested         hysterectomy;        he     was    not    seeking     a

hysterectomy for the purpose of elective sterilization.                              He sought

a hysterectomy to treat his gender dysphoria, as recommended by

his    doctor. 11        (ECF       No.    98-1    at    15).         Indeed,      St.    Joseph



       Dr. Cunningham confirmed that St. Joseph’s “policy of not
       11

permitting gender transition treatments . . . does not depend on
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“frequently” performs hysterectomies, even though they result in

sterilization, on patients that have a medical need for that

surgery—as long as the medical need is not from gender dysphoria. 12

(ECF No. 105-6 at 30).      As Dr. Cunningham confirmed, St. Joseph

will allow a doctor to perform a hysterectomy on any patient “so

long as [a] hysterectomy is consistent with the standard of care

for a given diagnosis,” aside from gender dysphoria.                  (ECF No.

105-6 at 57).    A hysterectomy is “consistent with the standard of

care” for a gender dysphoria diagnosis, (ECF No. 105-5 at ¶ 28),

but unlike other patients seeking a hysterectomy consistent with

the standard of care for their respective diagnoses, transgender

patients seeking to treat their gender dysphoria are turned away.

     Therefore, the policy at issue here is not a neutrally-

applicable    prohibition    on   all      hysterectomies,       or    even    a

prohibition     on   hysterectomies     for   the    purpose     of   elective




whether the treatment in question is a sterilization procedure.”
(ECF No. 105-6 at 59).

     12Defendants attempt to narrow the exception to only allowing
hysterectomies to treat “life-threatening” conditions. (ECF No.
98-1 at 14, 28).       There is no evidence to support this
characterization of the policy. Dr. Cunningham testified that the
use of the term “life-threatening” does “not reflect a medical
diagnosis” and instead is “used as a means to understand the
implications of the ERDs on a particular procedure.”      (ECF No.
98-9 at 44). Other deposition testimony that Defendants cite in
connection with this term confirms that “physicians aren’t
required to certify or verify that a patient suffers from a life-
threatening condition before scheduling a hysterectomy.”      (ECF
Nos. 98-1 at 13-14, 98-17 at 15).
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sterilization—it is a prohibition on hysterectomies (along with

other gender-affirming surgeries) that are sought by transgender

patients for the purpose of treating gender dysphoria.                    Defendants

have not identified any other medical diagnosis that St. Joseph

excludes     from   treatment       eligibility     in    this     way;    any   non-

transgender      patient     seeking      a    doctor-recommended,        medically

necessary hysterectomy would not be turned away by Defendants.

Thus, the true basis for Defendants’ refusal to perform the surgery

was Mr. Hammons’s transgender status.

       Additionally,      undisputed      evidence       establishes      that      Mr.

Hammons’s surgery was in fact cancelled because it was for the

purpose of treating his gender dysphoria. Dr. Cunningham testified

that when Dr. Adashek asked her if he could perform a hysterectomy

on Mr. Hammons “for the purpose of . . . transgender surgery,” she

said, “[N]o, we cannot do transgender surgery at St. [Joseph].”

(ECF No. 105-6 at 64).           She confirmed that she knew nothing about

the procedure or the patient, other than the fact that Mr. Hammons

was transgender and sought a hysterectomy for the purpose of gender

affirmation, and she stated repeatedly that the only reason she

denied permission to perform the surgery was that “it was a gender

transition treatment.”           (ECF No. 105-6 at 67-69).         Defendants have

not identified evidence that suggests that Mr. Hammons’s surgery

was    cancelled    for    any    other   reason.        Therefore,    Defendants’

position that the denial of Mr. Hammons’s surgery had nothing to

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do with his sex or gender identity is simply not supported by any

evidence.

     The next inquiry is whether maintaining a policy against

providing gender-affirming care at St. Joseph and applying that

policy to Mr. Hammons when cancelling his surgery is discrimination

on the basis of sex.         Recent decisions of the Supreme Court, the

United States Court of Appeals for the Fourth Circuit, and district

courts in the Fourth Circuit confirm that it is.

        The Supreme Court held in Bostock v. Clayton County, 140 S.Ct.

1731 (2020), that employment discrimination against transgender

individuals is sex discrimination under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e et seq.                 The Court explained

that “it is impossible to discriminate against a person for being

. . . transgender without discriminating against that individual

based on sex.”         Id. at 1741.       Noting that discrimination occurs

under    Title   VII    if   sex    is   one   but-for   cause     of   an    alleged

discriminatory     act,      the     Court     added   that    because       “sex   is

necessarily a but-for cause when an employer discriminates against

. . . transgender employees, an employer who discriminates on these

grounds inescapably intends to rely on sex in its decisionmaking.”

Id. at 1739, 42.        Applying that reasoning here, if a hospital has

a policy against performing a surgery to treat gender dysphoria—a

condition inextricably related to a person’s sex—but will perform



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that surgery to treat any other medical diagnosis, the hospital

intentionally relies on sex in its decisionmaking.

     Though less recent, the Supreme Court’s decision in Price

Waterhouse v. Hopkins, 490 U.S. 228 (1989), also provides a useful

framework by which to analyze the present case.              Six Justices

agreed in Price Waterhouse that discrimination based on a person’s

nonconformance with sex stereotypes is sex discrimination.            Id. at

250-51.    Here, St. Joseph’s policy is guided by the National

Catholic   Bioethics   Center’s    interpretation      of   the    ERDs     as

prohibiting gender-affirming care because it does not “conform to

the true good of the human person, who is a body-soul union

unalterably created male or female.”       (ECF No. 107-3 at 2).          This

policy, and the reasoning behind it, implicates sex stereotyping

in that it prohibits treatment that facilitates patients’ physical

nonconformity to their sex assigned at birth.               See Boyden v.

Conlin, 341 F.Supp.3d 979, 997 (W.D.Wis. 2018) (applying sex-

stereotyping theory in determining that a health insurance plan’s

exclusion of coverage for gender-affirming treatment constituted

sex discrimination under Section 1557).

     The Fourth Circuit has extended these principles to cases

involving Title IX claims, which makes them also applicable to

Section 1557 claims.    In Grimm v. Gloucester County School Board,

972 F.3d 586, 616-17 (4th Cir. 2020), the Fourth Circuit applied

the Bostock reasoning and held that a bathroom policy prohibiting

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a transgender student from using the boys restrooms discriminated

against him on the basis of sex, in violation of Title IX.                             The

court       explained   that     sex    discrimination      occurred         because   the

school board necessarily referred to the student’s sex to determine

an “incongruence between sex and gender” in order to exclude him

from the boys restrooms.               Id. at 616.       As part of its reasoning,

the court relied on the fact that the student “had been clinically

diagnosed       with    gender    dysphoria,       and    his   treatment       provider

identified using the boys restroom as part of the appropriate

treatment,”       but    “[r]ather       than    contend    with      [the    student’s]

serious medical need, the [school board] relied on its own invented

classification, ‘biological gender,’” to deny him access to the

boys restrooms.          Id. 619. 13      Likewise in the present case, Mr.

Hammons was diagnosed with gender dysphoria, and the treatment

recommended for that diagnosis was a hysterectomy.                            But rather

than recognize Mr. Hammons’s medical need, Defendants cancelled

his surgery based on a policy against treating gender dysphoria.

       The Supreme Court and the Fourth Circuit have yet to extend

the    principles       they     have    applied     in    employment        and   school

discrimination cases to discrimination against gender-affirming




        The court added that the student may have also been
       13

discriminated against under the Price Waterhouse sex-stereotyping
theory based on its policy that “punished [the student] for not
conforming to his sex-assigned-at-birth.” Id. at 617 n.15.
                                            20
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treatment in a healthcare setting. 14          However, multiple district

courts in the Fourth Circuit have done so; because the facts in

those cases are closely analogous to the facts in the present case,

their reasoning is persuasive here.

     In Fain v. Crouch, --- F.Supp.3d ---, No. 20-CV-0740, 2022 WL

3051015, at *1 (S.D.W.V. Aug. 2, 2022), transgender Medicaid

participants sued the state agencies and officials responsible for

administering    the   West     Virginia     Medicaid     program     for      sex

discrimination   in    the    program’s      exclusion    of    the   surgical

treatment of gender dysphoria.       The court summarized the facts and

its conclusion as follows:

          [T]he exclusion in the healthcare plan
          precludes coverage for [certain] surgical
          treatments when a person is diagnosed with
          gender dysphoria.      However, the same or
          similar surgical treatments are available to
          persons when the diagnosis requiring that
          treatment is not gender dysphoria. It is
          undisputed that the criteria determining
          whether or not such treatment is covered under

     14Aside from the fact that there is no Supreme Court or Fourth
Circuit precedent that directly addresses sex discrimination in
the provision of gender-affirming healthcare, Defendants argue
that Bostock and Grimm are distinguishable from the present case
because in those cases, the application of the policy would have
been different if the person’s sex or transgender status were
different. (ECF No. 98-1 at 32-33). In this case, they argue a
hysterectomy still would not have been allowed if Mr. Hammons were
a cisgender woman and would have been impossible if he were born
with male sex organs. However, those hypotheticals do not reflect
an application of the discriminatory policy at issue here, which
is a prohibition on all gender-affirming care.       Nor could any
similar hypothetical do so because the policy can only apply to
transgender   individuals—that    is   what   makes    the   policy
discriminatory.
                                     21
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             the Medicaid Program hinges on a diagnosis—
             but when treatment is precluded for a
             diagnosis based on one’s gender identity, such
             exclusion invidiously discriminates on the
             basis of sex and transgender status.

Id.     Accordingly, the court granted the plaintiffs’ motion for

summary judgment, and denied the defendants’ motion for summary

judgment, on the plaintiffs’ Section 1557 claim, among other

claims.      Citing Bostock, the court explained that because “a

transgender identity is inherent in an individual who suffers from

gender    dysphoria,”    the    exclusion       of    coverage        for   individuals

seeking     surgical    treatment     of       gender      dysphoria        “cannot    be

understood without a reference to sex.”                 Id. at 11.

       Similarly, in Kadel v. Folwell, --- F.Supp.3d ---, No. 19-

CV-272,     2022   WL   3226731,     at    *1    (M.D.N.C.        Aug.      10,   2022),

transgender individuals who receive health insurance through the

North Carolina State Health Plan for Teachers and State Employees

(“NCSHP”) sued NCSHP—under Section 1557, Title VII, and the Equal

Protection     Clause—for      its   exclusion        of   coverage         for   gender-

affirming treatments.       The district court granted summary judgment

on a Title VII claim in favor of one of the plaintiffs who was

denied coverage by NCSHP for her gender-affirming surgery, and it

denied the defendant’s motion for summary judgment as to that

claim.     Id. at *29.      The court explained that NCSHP covers the

same or similar surgery if it is not “leading to or in connection

with sex changes or modifications and related care.”                         Id. at 28.

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Therefore, had the plaintiff not been assigned the sex of male at

birth, the treatments would not be to “change” or “modify” her

sex.        Id.     The    court   concluded       that,   like   in    Bostock,       the

plaintiff’s sex played “an unmistakable and impermissible role in

the” decision to deny coverage.                  Id. (quoting Bostock, 140 S.Ct.

at 1741-42).             The court also concluded that, for those same

reasons,         NCSHP    discriminated     against     the    plaintiff      for      the

purposes of Section 1557.             Id. at 29.        In a subsequent opinion,

the court granted summary judgment for the plaintiffs on the

Section 1557 claim.             Kadel v. Folwell, No. 19-CV-272, 2022 WL

17415050, at *3 (M.D.N.C. Dec. 5, 2022).

       Like in Fain and Kadel, at issue in the present case is a

policy under which a certain surgery is available to individuals

seeking treatment for medical diagnoses, as long as those diagnoses

are not gender dysphoria.            In other words, the criteria that St.

Joseph       employs     in   determining    eligibility       for     hysterectomies

“hinges on a diagnosis” being unrelated to transgender status.

Fain, 2022 WL 3051015, at *1.             And as the court in Fain explained,

when treatment is prohibited because of one’s diagnosis that is

based       on   one’s    gender   identity,      the   prohibition      “invidiously

discriminates on the basis of sex and transgender status.” 15                          Id.



       Although the evidence is uncontroverted that Mr. Hammons’s
       15

surgery was cancelled primarily because of St. Joseph’s policy
against providing gender-affirming care, (see ECF No. 105-6 at 64
(“[N]o, we cannot do transgender surgery at St. [Joseph].”)), it
                                            23
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Defendants necessarily and intentionally relied on sex in creating

and enforcing a policy that prohibits treatment if a patient’s

medical need for that treatment is an incongruence between the

patient’s gender identity and sex assigned at birth.               See Bostock,

140 S.Ct. at 1746; Grimm, 972 F.3d at 608.

     Defendants’     citation    to    Polonczyk   v.    Anthem    BlueCross     &

BlueShield,    586   F.Supp.3d        648,   656-57     (E.D.Ky.    2022),      is

unhelpful.    In that out-of-circuit district court case, a health

insurance plan excluded all “cosmetic” procedures from coverage,

which included certain gender-transition-related procedures. The

court dismissed the plaintiff’s sex discrimination claim, finding

that she “fail[ed] to identify any documents or actions that

support a finding that [she] was discriminated against because of

her transgender status.”        Id. at 656.      It added that because the

plan excluded coverage for cosmetic surgeries categorically with

limited exceptions, regardless of a plan participant’s transgender

status, it could not be inferred that the exclusion was intentional

sex discrimination.      The same is not true in the present case.

Unlike in that case, Plaintiff has identified undisputed evidence




is worth noting that the result would not change if St. Joseph
were also motivated by its policy against sterilization and
removing   functioning  body   parts.     In  proving   that  sex
discrimination has occurred, it is sufficient to demonstrate that
sex was one but-for cause of the allegedly discriminatory action,
even if other factors played a role. See Bostock, 140 S.Ct. at
1739.
                                       24
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that   Defendants    have      a   policy       specifically    against    providing

gender-affirming care.             And Defendants have not identified any

other medical diagnoses for which hysterectomies are prohibited

other than gender dysphoria.

       Defendants also rely on General Electric Co. v. Gilbert, 429

U.S.    125   (1976),     in       which    the     Supreme     Court     held   that

discriminating against someone based on pregnancy was not the same

as discriminating against someone based on sex under Title VII.

Defendants argue that an analogy should be drawn between pregnancy

status and transgender status because, like pregnancy, gender-

affirming care is “unique (medically, ethically, etc.) such that

treating [it] differently cannot be conflated with intentional

discrimination against those with a transgender identity.”                       (ECF

No. 31-32).

       However, Congress amended Title VII in response to that

decision,     and   in   doing      so,    it    “unambiguously      expressed       its

disapproval of both the holding and the reasoning of the Court in

the Gilbert decision” by adding “pregnancy, childbirth, or related

medical conditions” to the definition of “on the basis of sex.”

Newport News Shipbuilding & Dry Dock Co. v. EEOC, 462 U.S. 669,

678-79 (1983) (citing 42 U.S.C. § 2000e(k)).                    The Senate Report

accompanying those amendments explained that it was the Justices

who dissented in Gilbert that had “correctly” interpreted Title

VII’s meaning.      S. Rep. No. 95-331, at 2–3 (1977).               The dissenters’

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conclusion,    which    the    Senate    Report       endorsed,     was     that    “a

classification revolving around pregnancy,” is “[s]urely,” “at the

minimum,   strongly     ‘sex   related.’”       Gilbert,     429     U.S.    at    149

(Brennan, J., dissenting).         The dissenters reasoned that when a

company    “devise[s]    a    policy    that,   but    for   pregnancy,       offers

protection for all [comparable] risks,” it discriminates “on the

basis of sex” in violation of Title VII.                Id. at 160.         The same

reasoning applies here: Defendants have “devised a policy” that

permits medically necessary, doctor-recommended hysterectomies for

“all” diagnoses, “but for” gender dysphoria, which is surely, at

the minimum, strongly sex related.              That policy is thus barred

under federal anti-discrimination law.                Defendants cite no case

law extending the flawed reasoning of the Gilbert majority to

Section 1557 claims or cases involving transgender status, and

given Congress’s clear disapproval of that reasoning, this court

will not do so here.

     For the foregoing reasons, the undisputed facts establish

that the decision to cancel Mr. Hammons’ hysterectomy pursuant to

a policy that prohibits gender-affirming care was discrimination

on the basis of his sex. 16       The question of which, if any, of the


     16 In reaching this conclusion, this court does not rely on
HHS regulations, given the uncertainty regarding their viability.
See Religious Sisters of Mercy v. Becerra, 55 F.4th 583, 589-95,
599-600 (8th Cir. 2022) (describing the relevant regulatory
history).   However, it is notable that HHS filed a Notice of
Proposed   Rulemaking   on   August  4,   2022,   which   states,
                                        26
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Defendants   is   responsible    for    that   discrimination      will     be

discussed in the following sections.

     B. Defendants’ Motion for Summary Judgment and Opposition to
        Plaintiff’s Motion

     Defendants moved for summary judgment on two other grounds:

1) UMMS is not a proper defendant and 2) Plaintiff is bound by

another court’s injunction.     Additionally, Defendants contend that

this court cannot grant summary judgment for Plaintiff because 1)

Plaintiff’s position relies on facts in dispute, and 2) St. Joseph

is entitled to raise a RFRA defense at trial.        None of Defendants’

arguments are persuasive for the reasons that follow.

          1. UMMS’s Liability under Section 1557

     Defendants argue that UMMS is not a proper defendant for the

alleged discriminatory conduct at issue in this case.            They argue

that only the funding recipient for the specific discriminatory




“Discrimination on the basis of sex includes . . . discrimination
on the basis of . . . gender identity.”      Nondiscrimination in
Health Programs and Activities, 87 Fed. Reg. 47916 (proposed Aug.
4, 2022) (to be codified at 45 C.F.R. § 92.101). It also states,

          In providing access to health programs and
          activities, a covered entity must not . . .
          [d]eny or limit health services sought for
          purpose of gender transition or other gender-
          affirming care that the covered entity would
          provide to an individual for other purposes if
          the denial or limitation is based on a
          patient’s sex assigned at birth, gender
          identity, or gender otherwise recorded.”

Id. at 47918 (to be codified at 45 C.F.R. § 92.206).
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program—which they argue is St. Joseph’s surgery department here—

can be held liable under Section 1557.                 (ECF No. 98-1 at 10-12).

Because      Section    1557,    like    Title       VI,    Title      IX,   and      the

Rehabilitation Act, is Spending Clause legislation that operates

like a contract between the government and the recipient of federal

funds in which the recipient agrees to comply with federally

imposed conditions, they argue that “liability only attaches to

the actual recipient of federal funds for its own misconduct

occurring in its own program or activities.”                  (ECF No. 98-1 at 18

(internal quotation marks and emphasis omitted)).

       Defendants’ argument is faulty for several reasons.                        It has

never been established that only the entity directly responsible

for    the   discriminatory      program,     and     not   the      entity’s     parent

corporation,     can   be   held    liable    under      Section      1557   or    other

Spending Clause legislation. 17          As previously noted, Section 1557

prohibits “discrimination under[] any health program or activity,

any part of which is receiving Federal financial assistance.”                          42

U.S.C. § 18116(a).          The term “health program or activity” is

defined in the HHS regulations as “all of the operations of

entities     principally       engaged   in     the     business       of    providing

healthcare     that    receive     Federal    financial      assistance[.]”            45



        Notably, Defendants do not argue that only St. Joseph’s
       17

surgery department is a proper defendant here, which it maintains
is the relevant “health program or activity.” (ECF No. 98-1 at
19).
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C.F.R. 92.3(b) (2020). 18   UMMS is undoubtedly “principally engaged

in the business of providing healthcare” through its network of

hospitals; therefore, “all” of its “operations,” which would seem

to include the hospitals it runs, are under the umbrella of its

health programs and activities. 19      A plain reading of the statute

supports a conclusion that UMMS could be held liable under Section

1557 for discrimination that occurs in any of its hospitals.




     18Various litigants have challenged the 2020 HHS regulations
as arbitrary and capricious, and those challenges remain pending.
HHS’s August 4, 2022, Notice of Proposed Rulemaking proposes a
revised definition of “health program or activity,” but the
proposed new definition is broader in scope and includes language
almost   identical    to   the   previous   definition.       See
Nondiscrimination in Health Programs and Activities, 87 Fed. Reg.
47844, 47912 (proposed Aug. 4, 2022) (to be codified at 45 C.F.R.
§ 92.4). Recognizing the uncertainty regarding the regulations,
courts have looked to the definitions in Section 504, Title VI,
Title IX, and the Age Discrimination Act for additional guidance.
See T.S. ex rel. T.M.S. v. Heart of CarDon, LLC, 43 F.4th 737,
742-43 (7th Cir. 2022). The definitions of “program or activity”
in those statutes are very similar to definition in the 2020
regulations.    See 29 U.S.C. § 794(b) (defining “program or
activity” as “all of the operations of”—among other entities—“an
entire corporation, partnership, or other private organization,
. . . which is principally engaged in the business of providing
. . . health care . . . any part of which is extended Federal
financial assistance.”); 42 U.S.C. § 2000d-4a (same); 20 U.S.C. §
1687 (same); 42 U.S.C. § 6107(4)(same).

     19 See T.S., 43 F.4th at 742-44 (interpreting “all of the
operations” of a healthcare company to include an LLC it operated);
see also Doe One v. CVS Pharmacy, Inc., No. 18-CV-01031-EMC, 2022
WL 3139516, at *7-14 (N.D.Cal. Aug. 5, 2022) (interpreting
“operations” to “encompass the activities of separate subsidiary
entities of a business engaged in providing healthcare (as opposed
to only such entity’s internal operations)”).
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        Defendants’ position is also inconsistent with how other

Spending Clause legislation is interpreted.                 The Supreme Court

held in Grove City College v. Bell, 465 U.S. 555, 556 (1984), that

the receipt by some students of federal financial aid triggers

Title IX liability only for a college’s financial aid program, not

for the entire college.          However, this decision prompted Congress

to pass the Civil Rights Restoration Act of 1987 (the “CRRA”),

which superseded Grove City College and clarified that “if any

part of an educational institution receive[s] federal funds, the

institution as a whole must comply with Title IX’s provisions.”

Pub. L. No. 100–259, § 3(a), 102 Stat. 28, 28–29 (1988) (codified

as amended at 20 U.S.C. § 1687); McCormick ex rel. McCormick v.

Sch. Dist. of Mamaroneck, 370 F.3d 275, 287 (2d Cir. 2004).

Although a program within an entity is different from an entity’s

subsidiary, Title IX’s legislative history undermines Defendants’

position that Congress intended to limit the scope of Spending

Clause legislation liability to only the parties to the federal

funding “contract”—the government and the direct recipient of the

funds.     See also T.S. ex rel. T.M.S. v. Heart of CarDon, LLC, 43

F.4th     737,   744-46   (7th     Cir.    2022)   (discussing      the    CRRA’s

implications for Section 1557).

        None of the cases Defendants cite for a limitation on Section

1557 liability support Defendants’ position.             Defendants rely most

heavily on Davis v. Monroe County Board of Education, 526 U.S. 629

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(1999), in which the Supreme Court held that the government’s

enforcement power under Title IX “may only be exercised against

the funding recipient,” and it may not be extended to “parties

outside the scope of this power.”           Id. at 641; see also id. at 640

(“[A] recipient of federal funds may be liable in damages under

Title   IX   only   for   its    own   misconduct.”).       This   holding       is

inapposite here.     The Court’s holding in Davis was in the context

of deciding whether a school board—a recipient of federal funds—

could be held liable for the discriminatory conduct of a student.

The Court held that the school board could not be held liable for

the conduct of third parties who did not receive federal funds

(i.e., students); however, it clarified that the board could be

held liable for its own deliberate indifference to student-student

harassment.    Id. at 640-43.

     Here, Defendants have all admitted that they have received

federal funds, and St. Joseph is a wholly owned subsidiary of UMMS.

(ECF Nos. 83 at 9, 105-10 at 5, 8, 23).               Their relationship is

clearly different from that of a school board and a student.                    All

the other cases Defendants cite for their position are in this

school district or university context.              See, e.g., Baynard v.

Malone, 268 F.3d 228, 237 (4th Cir. 2001); Kinman v. Omaha Pub.

Sch. Dist., 171 F.3d 607, 611 (8th Cir. 1999); Smith v. Metro. Sch.

Dist. Perry Twp., 128 F.3d 1014, 1018 (7th Cir. 1997); Lipsett v.

Univ. of P.R., 864 F.2d 881, 901 (1st Cir. 1988).

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       Even if it were appropriate to stretch the holding in Davis

to fit the facts of this case, Defendants’ position still would

fail.       In Davis, 526 U.S. at 630, as well as Gebser v. Lago Vista

Indep. Sch. Dist., 524 U.S. 274, 290 (1998), the Supreme Court

made clear that a school district can be held liable under Title

IX for teacher-student or student-student sexual harassment if the

school district is aware of the misconduct and fails to correct

it.     Assuming hypothetically that those cases apply here, as

Defendants urge, UMMS is not only aware of, but is also responsible

for, St. Joseph’s adherence to the ERDs—and audits by the National

Catholic      Bioethics   Center—by   way     of     entering       into   the   Asset

Purchase Agreement and Catholic Identity Agreement. 20 Further, the

control UMMS exerts over the St. Joseph board—through its approval

of the CEO, appointment of board members, and approval of certain

board actions—suggests that UMMS could remedy this discrimination



        Defendants resist this conclusion by arguing that “UMMS’s
       20

agreement to maintain St. Joseph’s Catholic identity is different
from causing it.” (ECF No. 111 at 13). This is a distinction
without a difference, as Davis and Gebser require no such causal
link. Even so, the hospital known as St. Joseph may have had a
Catholic identity prior to being owned by UMMS, but St. Joseph,
LLC did not exist until UMMS created it and bound it contractually
to comply with the ERDs.     Further, the attempt to characterize
UMMS’s involvement in St. Joseph’s Catholic identity as passive is
belied by the consistently active language in the Asset Purchase
Agreement.   (See, e.g., ECF No. 99-1 at 86 (“UMMS . . . shall
continue to operate [St. Joseph] in a manner consistent with
Catholic values and principles,” and “UMMS . . . shall ensure that
[St.   Joseph]   establish[es]   and  maintain[s]  the   following
fundamentals to hold [St. Joseph] accountable for [its] Catholic
identity[.]”)).
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if it chose to do so, or at least cease allowing St. Joseph to

operate within its network of hospitals. 21

     Additionally, other courts have determined that a parent

corporation   can   be    held    liable     under     Section     1557    and   other

Spending   Clause   legislation        when      its    subsidiary        engages   in

discrimination.     Analogous to this case, the United States Court

of Appeals for the Eleventh Circuit held in Silva v. Baptist Health

S. Fl., Inc., 856 F.3d 824, 842 (11th Cir. 2017), that a parent

organization,     which     operated       two     hospitals       where      alleged

discriminatory conduct occurred, could also be held liable under

the Rehabilitation Act for its subsidiaries’ conduct.                      The court

explained that, because the parent “own[ed] and operate[d] the

hospitals at which [the plaintiffs] presented . . . and applie[d]

its various policies and procedures to” the subsidiary hospitals,

liability was not limited to the “direct service-provider.”                      Id.

     Similarly, in T.S., 43 F.4th at 738-39, the United States

Court of Appeals for the Seventh Circuit held that a healthcare

provider was a proper defendant in a Section 1557 suit against its

self-funded   employee     health     insurance        plan—a    separate    limited




     21Defendants contend that the extent of UMMS’s control over
St. Joseph’s decision to engage in discriminatory practices is in
dispute. (ECF No. 111 at 29-30). However, there are no disputed
facts; the parties simply have different interpretations of the
legal implications of the unchallenged agreements that establish
the relationships between Defendants and their obligations to
comply with the ERDs. See infra Part III.B.3.
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liability company (“LLC”)—for alleged discrimination perpetrated

by the insurance plan.       While only the healthcare provider, and

not the LLC it operated, received federal funds in that case, the

court clarified that “‘program or activity’ in [S]ection 1557 is

not limited to the discrete portion of [a company’s] operations

that receives Medicare and Medicaid reimbursements.”               Id. at 743.

In other words, the Section 1557 obligations imposed on a parent

company through its acceptance of federal funds include a duty not

to discriminate through the actions of a company that it operates.

See also Doe One v. CVS Pharmacy, Inc., No. 18-CV-01031-EMC, 2022

WL 3139516, at *9 (N.D.Cal. Aug. 5, 2022) (holding that parent and

subsidiaries were both proper defendants in a Section 1557 suit,

even if only the parent received federal funds, because “[t]o

ignore the overall interrelationship among the entities which, in

the case at bar, design and implement the allegedly discriminatory

program . . . would exalt form over substance and impair the

effectiveness     of   the    anti-discrimination         provision     of      the

[Affordable Care Act]”).

       At a minimum, UMMS can be held directly liable under Section

1557    for   owning   and   operating    a    hospital     that   adheres       to

discriminatory policies—and ensuring it does so, as required by

the contracts entered into by UMMS.           For that reason, UMMS is not




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entitled to summary judgment on this basis, nor does it prevent

Plaintiff from succeeding on his summary judgment motion. 22

             2. Religious Sisters of Mercy Injunction

       Defendants argue that St. Joseph is shielded from Plaintiff’s

Section 1557 claim by an injunction issued by the United States

District Court for the District of North Dakota in Religious

Sisters     of   Mercy   v.    Azar,    513     F.Supp.3d     1113   (D.N.D.    2021),

judgment entered sub nom. Religious Sisters of Mercy v. Cochran,

No. 3:16-cv-00386, 2021 WL 1574628 (D.N.D. Feb. 19, 2021).                         (ECF

No. 98-1 at 22-28).        In that case, Catholic organizations sued the

United States Department of Health and Human Services (“HHS”) and

its     Secretary    in       his     official     capacity,         challenging      an

implementation of Section 1557 and its regulations.                     Id. at 1122.

The plaintiffs argued that interpreting or applying Section 1557

to require them to perform gender-transition procedures violates

RFRA. 23     Id.     The      court    agreed,     and   it   issued    a   permanent

injunction:

             PERMANENTLY ENJOIN[ING] AND RESTRAIN[ING]
             HHS, Secretary Azar, their divisions, bureaus,


        Plaintiff also argues that UMMS can be held indirectly
       22

liable for its subsidiary’s actions under a piercing-of-the-
corporate-veil theory. (ECF No. 105-1 at 38-41). Because this
court concludes that UMMS can be held directly liable for its
participation in the alleged discrimination under the text of
Section 1557 and Spending Clause legislation case law, it need not
address this argument.

       The case also involved other parties and other claims not
       23

relevant here.
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             agents, officers, commissioners, employees,
             and anyone acting in concert or participation
             with them . . . from interpreting or enforcing
             Section 1557 of the ACA . . . or any
             implementing regulations thereto against the
             Catholic Plaintiffs in a manner that would
             require them to perform . . . gender-
             transition procedures, including by denying
             federal financial assistance because of their
             failure to perform . . . such procedures or by
             otherwise pursuing . . . other enforcement
             actions.

Id. at 1153-54.

       The   “Catholic   Plaintiffs”        include   two    separate      sets     of

plaintiffs, one of which the court referred to as the “Catholic

Benefits Association Plaintiffs.”            Id. at 1131, 33.         The Catholic

Benefits     Association    (“CBA”)    is    a   “nonprofit       corporation       and

Catholic ministry” whose membership includes “over 1,030 employers

and 5,100 Catholic parishes” who “commit to providing benefits or

services consistent with Catholic values.”                Id. at 1133.         These

plaintiffs included the unnamed members, “present and future,” of

the Catholic Benefits Association that meet certain criteria.                       Id.

at   1154.      In   addition,   the    “Catholic       Benefits       Association

Plaintiffs” included three named plaintiffs, who are members of

the CBA.     Id. at 1133.

       Defendants explain that St. Joseph has recently joined the

CBA, having met the criteria required to do so.                   (ECF No. 98-1 at

24).    They argue that, therefore, St. Joseph is covered by this

injunction.


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      HHS    appealed   the     district     court’s     grant      of    permanent

injunctive relief to the plaintiffs, and since the Defendants filed

their motion, the United States Court of Appeals for the Eighth

Circuit issued an opinion affirming the district court’s ruling in

all but one respect.          Religious Sisters of Mercy v. Becerra, 55

F.4th 583 (8th Cir. 2022).            The Eighth Circuit held that the

district court erred in concluding that “CBA had associational

standing to sue on behalf of its unnamed members” because the CBA

had not identified particular members and their injuries.                    Id. at

601-02.      Accordingly, the court “affirm[ed] the district court’s

grant of permanent injunctive relief to the plaintiffs except to

the extent it recognizes the associational standing of the CBA”

and remanded for further proceedings consistent with the opinion.

Id. at 609.

      The Eighth Circuit’s recent ruling that CBA lacked standing

to proceed on behalf of its unnamed members in the lawsuit puts

into question the viability of St. Joseph’s argument that it is

covered, as an unnamed member of the CBA, by the Religious Sisters

of   Mercy    injunction.      However,     as   Defendants       point    out,    the

injunction is still technically in place until the district court

acts on remand from the Eighth Circuit.            (ECF No. 118).         Regardless

of how the injunction is revised on remand, Defendants’ argument

lacks merit.



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        Mr. Hammons was not a party to the lawsuit in North Dakota

and is not enjoined by the terms of the injunction—only HHS and

its agents are.          Defendants argue that Mr. Hammons should be

considered in privity with HHS, as a “third-party beneficiary” of

the Spending Clause legislation “contract between the Government

and the funding recipient,” because a private plaintiff’s right of

action is only as extensive as HHS’s enforcement power.                    (ECF No,

98-1 at 25).         However, Mr. Hammons’s private right of action is

different from a potential enforcement action against St. Joseph

by HHS.    A private litigant sues for violations of Spending Clause

legislation to vindicate his own rights and to recover damages

only for himself, whereas an enforcement action by the government

would     be   to    terminate    federal    funding    based    on    a    funding

recipient’s         “breach”     of   the    Spending    Clause       legislation

“contract.”     See Jersey Heights Neighborhood Ass’n v. Glendening,

174 F.3d 180, 191 (4th Cir. 1999) (“Title VI creates a two-pronged

attack on discrimination by federal funding recipients: direct

action against those recipients by private parties and action by

funding agencies to secure voluntary compliance or to terminate

funds altogether.” (citations omitted)).            Therefore, an injunction

against government enforcement is not the same as an injunction

against private lawsuits.

     To hold otherwise would be an improper extension of a federal

court’s equitable powers to individuals not party to a case who

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did not have an opportunity to be heard.                See Fed.R.Civ.P. 65(d)

(“Every order granting an injunction . . . binds only . . . (A)

the    parties;     (B)   the    parties’      officers,    agents,       servants,

employees, and attorneys; and (C) other persons who are in active

concert or participation with any described in [(A) or (B)].”);

see also Regal Knitwear Co. v. N.L.R.B., 324 U.S. 9, 13 (1945)

(“The courts . . . may not grant an enforcement order or injunction

so broad as to make punishable the conduct of persons who act

independently and whose rights have not been adjudged according to

law.”); Whole Woman’s Health v. Jackson, 142 S.Ct. 522, 535 (2021)

(“[U]nder traditional equitable principles, no court may enjoin

the    world   at   large,      or   purport    to    enjoin      challenged    laws

themselves.” (internal quotation marks and citations omitted)).

And equitable considerations weigh strongly against binding Mr.

Hammons and St. Joseph under the injunction, given how different

the parties’ positions are from the parties in Religious Sisters

of Mercy—St. Joseph’s status as a state entity being a notable

difference.       See infra Part. III.B.4.           This court will not apply

the injunction to the parties in this case.

             3. Disputes of Material Fact

       Plaintiff contends that no material facts are in dispute with

regard to the legal relationship of all three Defendants and their

collective responsibility for the sex discrimination.                      (ECF No.

114 at 10).       Defendants, however, argue that certain facts upon

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which Plaintiff relies are in dispute—specifically those related

to the corporate relationships between the parties and to St.

Joseph’s policies and motives.         (ECF No. 111 at 28-34).

     First, Defendants argue that it remains in dispute “whether

UMMS directly ‘caused’ or ‘forced’ St. Joseph to discriminate and

whether   it   was   the   ‘final   decisionmaker       for     the   challenged

practice.’”          Defendants      take      issue      with        Plaintiff’s

characterization of the Asset Purchase Agreement as evidence that

UMMS caused St. Joseph to discriminate, where there is no evidence

that “St. Joseph would have abandoned its adherence to the ERDs

had UMMS not acquired the hospital.”            (ECF No. 111 at 29).         This

“dispute” is neither factual nor material.             Rather, it reflects a

difference     in   characterization      of   undisputed       facts.     It    is

undisputed that UMMS purchased St. Joseph and that a condition of

that purchase was that UMMS continue to operate St. Joseph as a

Catholic hospital.         It is also undisputed that Defendant St.

Joseph, LLC was created by UMMS, and that UMMS signed agreements

to bind that newly created LLC to adhere to the ERDs in its

provision of medical care.        Whether that amounts to “forcing” St.

Joseph to adhere to the ERDs is more of a legal question than a

factual one.

     Regardless, the answer to that question is immaterial because

it is only relevant, as explained previously, if the principles of

Davis are appropriately applied to this case—this court does not

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accept that premise.           And even if Davis did apply, the Supreme

Court held in that case that a school district could be held liable

for    merely     remaining     deliberately       indifferent         to   harassment—

causation is not required.                Davis v. Monroe County Board of

Education, 526 U.S. 629, 640-43 (1999).                   Purely undisputed facts

establish that UMMS maintains a health program that discriminates

on the basis of sex, so Defendants cannot evade summary judgment

on that basis. 24

       Defendants contend that Plaintiff “also relies on disputed

facts about St. Joseph’s policies and motives,” specifically that

Mr.    Hammons’s     surgery      was    “cancelled       because      of   his   gender

dysphoria.”       (ECF No. 111 at 31).          They argue that record evidence

supports     a    conclusion      that    St.    Joseph    has    a    policy     against

performing hysterectomies for the purpose of sterilization and

that it only performs hysterectomies if the patient’s uterus was

diseased     or    if    the   patient     has    some    other       life-threatening

condition, like excessive bleeding.                However, accepting the fact

that St. Joseph has a policy against performing hysterectomies for

the purpose of sterilization, that is irrelevant here because Mr.

Hammons     did    not     seek    a     hysterectomy      for        the   purpose     of




        Defendants also argue that disputed facts regarding
       24

corporate relationships exist as relevant for Plaintiff’s veil-
piercing theory. As previously noted, this opinion does not rely
on that theory in determining that UMMS is a proper defendant.
See supra note 25.
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sterilization.    And the evidence does not support that St. Joseph

only allows hysterectomies to treat life-threatening conditions;

while   it   certainly   supports   that   St.   Joseph      will   perform   a

hysterectomy to treat a life-threatening condition, the evidence

conclusively shows that “life-threatening” is not a requirement.

See supra note 15. Rather, with the exception of procedures sought

by transgender patients to treat gender dysphoria, St. Joseph will

perform any hysterectomy “so long as [it] is consistent with the

standard of care for a given diagnosis.”          (ECF No. 105-6 at 30,

57).

       More importantly, there is no evidence to support Defendants’

assertion that Mr. Hammons’s surgery was cancelled for either of

those reasons.      The undisputed evidence establishes that Mr.

Hammons’s surgery was cancelled because “it was a gender transition

treatment.”     (ECF No. 105-6 at 67-69).        Even accepting that St.

Joseph does have those policies that, in other cases, may be a

relevant consideration in authorizing a hysterectomy, St. Joseph

specifically denied Mr. Hammons’s surgery because of its policy

against providing gender-affirming care.          Defendants point to no

evidence that suggests St. Joseph does not have such a policy, and

St. Joseph’s corporate designee admitted that it does.               (ECF No.

105-6 at 57).     And as previously noted, all that is required is

that sex discrimination was one of the reasons behind a covered



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entity’s adverse decision, and undisputed facts establish that

that is the case here.           See supra note 18.

               4. RFRA Defense

       Finally, Defendants argue that even if they are not entitled

to     summary     judgment      for    the      reasons   previously          discussed,

Plaintiff is not entitled to summary judgment against St. Joseph

because St. Joseph is entitled to raise a RFRA defense at trial.

(ECF No. 111 at 34-39).

       The parties have, at times, engaged in a sort of legal

gymnastics as they try to wend their way through the labyrinth of

state    action,        sovereign      immunity,     standards        of     review,       and

statutory interpretation.              Neither side has been immune to this

malady.        Plaintiff, as ably pointed out by Defendants, tried to

find daylight between state action and sovereign immunity in a

vain    attempt        to   sustain    an   action    under   42      U.S.C.      §     1983.

Defendants were content to sink or swim together when it seemed to

suit their purposes, but now seek to differentiate themselves into

two     (but     not    three)    separate       entities.         Pleading        in      the

alternative, and even making alternative arguments, is entirely

permissible.           Relying on one set of facts which win the day and

then arguing the opposite may not be.                   The doctrine of judicial




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estoppel precludes such chicanery. 25      While the parties have not

transgressed that line, they came perilously close.

     Defendants have always taken the primary position that all of

them are private corporations, not instrumentalities of the state,

and thus cannot be liable under § 1983.        They did argue, that if

they are state actors for purposes of § 1983, they are also




     25The Fourth Circuit described the doctrine in Martineau v.
Wier, 934 F.3d 385, 393 (4th Cir. 2019):

               As the Supreme Court has explained,
          judicial estoppel is an equitable doctrine,
          designed to “protect the integrity of the
          judicial process by prohibiting parties from
          deliberately changing positions according to
          the exigencies of the moment.” New Hampshire
          v. Maine, 532 U.S. 742, 749–50 (2001)
          (internal     quotation    marks     omitted).
          Typically, judicial estoppel is reserved for
          cases where the party to be estopped . . . has
          taken a later position that is “clearly
          inconsistent” with her earlier one; has
          persuaded a court to adopt the earlier
          position, creating a perception that “either
          the first or the second court was misled”; and
          would “derive an unfair advantage or impose an
          unfair detriment on the opposing party if not
          estopped.” Id. at 750–51 (internal quotation
          marks omitted). Finally, and central to this
          case, there is the longstanding principle that
          judicial estoppel applies only when “the party
          who is alleged to be estopped intentionally
          misled the court to gain unfair advantage,”
          and not when “a party’s prior position was
          based on inadvertence or mistake.”     John S.
          Clark Co. v. Faggert & Frieden, P.C., 65 F.3d
          26, 29 (4th Cir. 1995) (emphasis added)
          (internal quotation marks omitted); accord New
          Hampshire, 532 U.S. at 753 (quoting John S.
          Clark, 65 F.3d at 29).
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entitled to sovereign immunity. So, while they succeeded in having

those claims dismissed, it was not based on their primary argument.

What they did argue, however, was that all three could be treated

together, allowing presumably the two St. Joseph entities to

benefit from the status of UMMS, and vice versa.                At this stage,

in contrast, Defendants seek to split the entities, so that, as

discussed above, UMMS can argue that it is not responsible for

discrimination by St. Joseph’s, and St. Joseph’s can argue that it

may assert the RFRA defense.           Despite this switch in strategy,

Defendants’ argument fails.

     Because St. Joseph is a state actor, it simply may not assert

this defense.     As noted in connection with Defendants’ motion for

leave     to   amend   answer    to   assert   this    defense,     Defendants

acknowledge that the defense is not available to state actors.

(ECF No. 73-1 at 7).      By the time Defendants sought to assert the

defense, the court had ruled that they, as a single unit of three

entities, 26 were entitled to sovereign immunity as to the § 1983

claims precisely because they were an instrumentality of the state.

And St. Joseph has not sought reconsideration of that ruling.




     26It is somewhat disingenuous for Defendants to suggest that
Plaintiff or the court itself was responsible for treating the
three defendants as a single entity, when their motion did
precisely that, denoting the three as the “Medical System”. That
motion made no attempt to differentiate St. Joseph from UMMS for
the purpose of state actor analysis, or any other. (See ECF No.
39-1).
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Rather, Defendants seem to believe that they are free to dispute

the facts that the court relied on earlier in this litigation.

Consideration of those purported additional facts does not show

that St. Joseph is not an instrumentality of the state.

     The question is whether wholly owned subsidiaries of state

actors are also state actors.           There is very little case law

addressing this issue, but the case law that does exist suggests

that wholly owned subsidiaries of state actors are also state

actors.   See Verdon v. Consol. Rail Corp., 828 F.Supp. 1129, 1132,

38 (S.D.N.Y. 1993) (holding that “a public-benefit corporation

which is a wholly owned subsidiary of the” state transit authority

“would clearly be a . . . ‘state actor’”); Gunter v. Long Island

Power Auth./Keyspan, No. 08-CV-498(RRM)(LB), 2011 WL 1225791, at

*7-8 (E.D.N.Y. Feb. 15, 2011) (holding that a power company, which

was a wholly owned subsidiary of a state power authority, was a

state actor because it was “controlled by an agency of the state”);

Gherity v. Pfaff, 216 F.Supp.3d 975, 979 (D.Minn. 2016) (holding

that a county medical center, “as a subsidiary of” a county, was

a state actor).   This makes sense logically and for public policy

reasons—the same rules that apply to a governmental entity should

apply to a sub-entity that it operates.

     The question is not whether some of the day-to-day operations

of St. Joseph’s are controlled within its own corporate structure,

or who ultimately made the decision to prohibit Mr. Hammons’

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surgery.   Instrumentality of the state analysis, as discussed at

length in this court’s earlier opinion, depends on assessment of

many factors.       Defendants have not pointed to any facts that

undermine the earlier conclusion.

     If St. Joseph is not a state actor, the court would then need

to assess a very difficult question: whether St. Joseph can assert

a RFRA defense in this case brought by a private individual, given

that RFRA prohibits only the “[g]overnment” from “substantially

burden[ing]”    a   person’s      exercise      of      religion.          42        U.S.C.

§ 2000bb-1.    While the Supreme Court and the Fourth Circuit have

never   addressed   the   issue    of    whether        RFRA    applies         to    suits

involving only private parties, and there is a circuit split on

the issue, the weight of circuit court authority tips in favor of

a conclusion that it does not.

     The   three    circuit    courts        that     have     allowed      a    private

defendant’s RFRA defense in a suit by a private plaintiff are

feeble support for Defendants’ position.                 The United States Court

of Appeals for the Second Circuit held that a RFRA defense could

apply to a suit brought by a private plaintiff in Hankins v. Lyght,

441 F.3d 96, 103 (2d Cir. 2006).             However, the Second Circuit has

since expressed doubt about the strength of the reasoning in that

case, based on the text and operation of RFRA.                       See Rweyemamu v.

Cote, 520 F.3d 198, 203-04, 203 n.2 (2d Cir. 2008).                             In In re

Young, 82 F.3d 1407, 1416-17 (8th Cir. 1996), vacated, sub nom.

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Christians v. Crystal Evangelical Free Church, 521 U.S. 1114

(1997), reinstated, sub nom. In re Young, 141 F.3d 854 (8th Cir.

1998), the United States Court of Appeals for the Eighth Circuit

allowed    a   RFRA   defense    in   a   bankruptcy   case.      However,       its

reasoning in doing so was based on the fact that the bankruptcy

court that heard the case was a “branch” of the government that

would be implementing federal bankruptcy law—the unique bankruptcy

context in that case makes it less persuasive in the present case.

Finally, in EEOC v. Catholic Univ. of Am., 83 F.3d 455, 467 (D.C.

Cir. 1996), the United States Court of Appeals for the District of

Columbia Circuit allowed a RFRA defense in a case involving both

the    Equal      Employment    Opportunity    Commission       and    a   private

plaintiff; however, it did not analyze the question, let alone

state whether RFRA would apply if the private plaintiff had sued

alone.

       On the other hand, multiple circuit courts have explicitly

rejected the notion that RFRA can apply in a suit involving only

private parties.       The United States Court of Appeals for the Sixth

Circuit held in Gen. Conf. Corp. of Seventh-Day Adventists v.

McGill, 617 F.3d 402, 410 (6th Cir. 2010), that “the [RFRA] defense

does not apply in suits between private parties.”                     It reasoned

that “[t]he text of the statute makes quite clear that Congress

intended RFRA to apply only to suits in which the government is a

party.”     Id.     The United States Court of Appeals for the Seventh

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Circuit in Listecki v. Off. Comm. of Unsecured Creditors, 780 F.3d

731, 736 (7th Cir. 2015), held that, “[b]ased on RFRA’s plain

language, its legislative history, and the compelling reasons

offered by our sister circuits, . . . RFRA is not applicable in

cases where the government is not a party.”                    See also Tomic v.

Catholic Diocese of Peoria, 442 F.3d 1036, 1042 (7th Cir. 2006),

abrogated on other grounds by Hosanna-Tabor Evangelical Lutheran

Church and Sch. v. EEOC, 565 U.S. 171 (2012) (stating that “RFRA

is applicable only to suits to which the government is party” and

referring       to    the     Second   Circuit’s    decision        in   Hankins     as

“unsound”).          The United States Court of Appeals for the Ninth

Circuit applied an “under color of law” requirement in Sutton v.

Providence St. Joseph Med. Ctr., 192 F.3d 826, 834-43 (9th Cir.

1999), and concluded that, in the absence of a nexus between a

private party and the government, RFRA did not apply to that party.

       Additionally, several district courts in this circuit have

held that RFRA cannot apply in suits where the government is not

a party.       See Billard v. Charlotte Catholic High School, No. 3:17-

cv-00011, 2021 WL 4037431, at *15-22 (M.D.N.C. Sept. 3, 2021)

(analyzing the question extensively and concluding “that RFRA does

not    apply    to    suits    between   purely    private    parties”);      Doe    v.

Catholic Relief Servs., No. 20-cv-1815-CCB, 2022 WL 3083439, at

*5-6 (D.Md. Aug. 3, 2022) (“This court finds as a matter of law

that RFRA restricts the government rather than private parties,

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and so [the defendant] may not assert RFRA as an affirmative

defense against [the plaintiff’s] claims.”); Goddard v. Apogee

Retail LLC, No. 19-cv-3269-DKC, 2021 WL 2589727, at *8 (D.Md. June

24, 2021) (dismissing a claim predicated on RFRA because it “places

restrictions on the government, not private parties”).

     Other courts have been persuaded by the dissent by then

Circuit Judge Sotomayor in Hankins.        She reasoned as follows:

          Two provisions of the statute implicitly limit
          its application to disputes in which the
          government is a party.     Section 2000bb–1(c)
          states that “[a] person whose religious
          exercise has been burdened in violation of
          this section may assert that violation as a
          claim or defense in a judicial proceeding and
          obtain    appropriate    relief    against    a
          government”   (emphasis   added).      In   the
          majority’s view, we should read this provision
          as “broadening, rather than narrowing, the
          rights of a party asserting the RFRA.” Maj.
          Op. at 103.     This interpretation would be
          questionable even if Section 2000bb–1(c) were
          the only provision of the statute affecting
          the question of whether RFRA applies to
          private suits. When read in conjunction with
          the rest of the statute, however, it becomes
          clear that this section reflects Congress’s
          understanding that RFRA claims and defenses
          would be raised only against the government.
          For instance, section 2000bb–1(b) of RFRA
          provides   that   where   a   law   imposes   a
          substantial    burden    on    religion,    the
          “government” must “demonstrate[] . . . that
          application of the burden” is the least
          restrictive means of furthering a compelling
          governmental interest (emphasis added). The
          statute defines “demonstrate” as “meet[ing]
          the burdens of going forward with the evidence
          and of persuasion.” 42 U.S.C. § 2000bb–2(3).
          Where, as here, the government is not a party,
          it cannot “go[] forward” with any evidence.

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441 F.3d at 114-15 (Sotomayor, J., dissenting) (alterations in

original).       If St. Joseph were not a state actor, the growing

weight of authority recited above would counsel in favor of finding

that it could not assert RFRA in a case brought by a private party.

     For the aforementioned reasons, RFRA is not applicable in

this case.

     C. Resolution of Cross-Motions

     This court has determined that undisputed facts establish

that,   as   a   matter   of   law,   Defendants    discriminated      against

Plaintiff on the basis of his sex; UMMS is a proper defendant—all

three Defendants are health programs or activities that receive

federal funds; St. Joseph is not covered by the Religious Sisters

of Mercy injunction; there are no material facts in dispute; and

St. Joseph may not assert a defense based on RFRA.                In light of

those determinations, Plaintiff is entitled to summary judgment in

his favor on his Section 1557 claim, and Defendants’ motion for

summary judgment will be denied.

     Any remaining questions as to damages—to the extent that there

are any—are reserved for trial.

     D. Motions to Seal and/or File Certain Documents Publicly

     Finally, the following motions by the parties related to the

sealing of documents are pending:

     1. Defendants’ Motion for Leave to File Exhibits Under Seal
        (ECF No. 100)

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     2. Plaintiff’s Consolidated Interim Sealing Motion, Motion
        for Leave to File Certain Documents Under Seal, and Motion
        for Leave to File Certain Documents Publicly (ECF No. 104)

     3. Plaintiff’s Consolidated Interim Sealing Motion, Motion
        for Leave to File Certain Documents Under Seal, and Motion
        for Leave to File Certain Documents Publicly (ECF No. 113)

In compliance with to the parties’ Stipulated Order Regarding

Confidentiality of Discovery Material, (ECF Nos. 69, 70), the

parties filed certain materials designated “confidential” under

seal and moved simultaneously for leave to file them under seal,

pursuant to Local Rule 104.13(c).           Local Rule 105.11 provides that

motions to seal “shall include (a) proposed reasons supported by

specific factual representations to justify the sealing and (b) an

explanation     why   alternatives     to     sealing      would     not      provide

sufficient protection.”       However, a “more rigorous First Amendment

standard” applies “to documents filed in connection with a summary

judgment motion in a civil case,” as “summary judgment adjudicates

substantive   rights    and   serves    as   a    substitute      for   a     trial.”

Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 252-53 (4th

Cir. 1988).   Each motion will be addressed in turn.

          1. Defendants’ Motion to Seal

     Defendants moved to file Exhibits 2, 7, 10, 13, 15, and 19 to

their motion for summary judgment under seal.                     (ECF No. 100).

Exhibits 10, 15, and 19 are excerpts from depositions that contain

“confidential     information     regarding”         Plaintiff’s        and     other


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individuals’ “medical history and diagnoses.”                       Plaintiff does not

oppose the filing of those documents under seal.                             (ECF No. 102).

Accordingly, the motion will be granted as to those documents.

       The   other       exhibits    are     documents       related       to    Defendants’

corporate      formation,        structure,        and     contractual          obligations:

Exhibit 2 is the Asset Purchase Agreement, Exhibit 7 is the

Catholic Identity Agreement, and Exhibit 13 is the St. Joseph

Operating     Agreement.            Defendants       argue       that     those    documents

contain      “proprietary        business      information         including           internal

policies      and    procedures       which,       if     made    public        could    cause

competitive      harm.”       They     add    that       redaction      or      less    drastic

alternatives are not possible because “redaction will not allow

the    [c]ourt      to   fully    evaluate        the    testimony        and    information

provided in these exhibits.”               Plaintiff opposes the motion because

the documents “go to the heart of the dispute in this case.”

       This opinion relies on and quotes heavily from those three

agreements.         Therefore, the First Amendment requires that they

remain unsealed except “on the basis of a compelling . . .

interest, and only if [the sealing] is narrowly tailored to serve

that interest.”          Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d

178, 180 (4th Cir. 1988).               Defendants’ assertions of risks of

“competitive harm” are too vague and overbroad, and sealing the

entirety of the three documents is not narrowly tailored to serve

any potential interest in doing so.                      And Defendants’ reason for

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rejecting less drastic alternatives is unpersuasive.                As Plaintiff

points out, Defendants could seek to file redacted versions of the

documents publicly, while filing unredacted versions with the

Court under seal.     Therefore, Defendants’ motion will be denied as

to Exhibits 2, 7, and 13 to their motion for summary judgment.

Should they seek to, they can file another motion to seal with

proposed redactions to those documents.              In doing so, however,

they   must    clearly   substantiate    the    basis    for      any   requested

redactions.      The documents will remain under seal for another 14

days, although this memorandum is not under seal.                       Thus, the

excerpts quoted or referenced herein must, at some point, be

unsealed.

              2. Plaintiff’s First Motion to Seal and File Publicly

       Plaintiff moved to file Exhibits 2, 11, 19, and 20 to his

motion for summary judgment under seal.              (ECF No. 104).          Those

documents are a letter and depositions that contain Plaintiff’s

medical information.      Defendants do not oppose the motion as to

those documents.      (ECF No. 108).     Accordingly, the motion to seal

those documents will be granted.

       Plaintiff also moved to file publicly Exhibits 13, 14, 16,

and 22 to his motion for summary judgment, which were designated

“confidential” under the Stipulated Order. (ECF No. 104). Exhibit

13 is a copy of a policy document from the National Catholic

Bioethics Center, which is available publicly.                  Defendants agree

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that there is no reason to seal a publicly available document, so

they do not oppose Plaintiff’s motion as to that document.              (ECF

No. 108).     However, Defendants oppose the public filing of the

other three documents: Exhibit 14 is a copy of the results of the

National Catholic Bioethics Center’s 2019 audit of St. Joseph;

Exhibit 16 is an email chain among St. Joseph personnel about

whether a phalloplasty could be performed on a transgender male at

St. Joseph; and Exhibit 22 is an email chain among St. Joseph

personnel after the events in this case about creating an alert

when the word “gender” appears in a surgery scheduling request.

     Defendants argue that Exhibits 14 and 22 “contain sensitive

business information that is not otherwise available to the public”

and that could cause “competitive harm” if disclosed.              (ECF No.

108).   They argue that Exhibit 16 contains sensitive personal

health information about a patient, and that even though the

patient’s name is not included, there is still a risk that public

disclosure of the document could lead to the patient being publicly

identified.

     Although this opinion does not rely directly on any of those

three documents, they are relevant to the issues decided in the

motions for summary judgment, so First Amendment considerations

require careful scrutiny of the need to file them under seal.

Defendants have not elaborated on what “competitive harm” could

result from public access to the results of the audit or the

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conversations about flagging diagnoses involving “gender.”                         And

the     email     conversations       surrounding        whether        a     penile

reconstruction surgery could occur at St. Joseph do not contain

any personally identifiable information—the personnel speak in

general terms about the surgery sought and whether it would violate

the ERDs.       Defendants’ opposition is devoid of any “specific

factual representations to justify” sealing any of those three

documents.      Because Defendants have not made a sufficient showing

as to why these documents should be sealed, Plaintiff’s motion to

file publicly as to those documents will be granted as well.

             3. Plaintiff’s Second Motion to Seal and File Publicly

       Plaintiff moved to file Exhibit 1 to his reply memorandum,

(ECF No. 114), under seal, and Exhibit 3 to that memorandum

publicly.     (ECF No. 113).     The parties stipulated and “agreed that

a public version of Exhibit 3 [to Plaintiff’s Reply] containing

the redactions proposed” may be filed.                 (ECF No. 116).             They

attached a proposed redacted exhibit. (ECF No. 116-1). Defendants

did not file a response in opposition to filing Exhibit 1 under

seal.      Exhibit    1   contains    additional       portions    of       the   same

deposition testimony in Exhibit 10 to Defendants’ motion for

summary judgment, which the parties agreed to seal because it

contains plaintiff’s medical information.                However, the single

page in Exhibit 1 to Plaintiff’s reply memorandum does not contain

any    personal    medical     information     about    anyone.         Seeing     no

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legitimate justification for sealing the document, Plaintiff’s

motion will be denied as to Exhibit 1; it will be granted as to

the agreed-upon redacted version of Exhibit 3.

IV.    Conclusion

       For the foregoing reasons, Plaintiff’s motion for summary

judgment will be granted, Defendants’ motion for summary judgment

will be denied, Defendants’ motion to file documents under seal

will be granted in part and denied in part, Plaintiff’s first

motion to file certain documents under seal and certain documents

publicly will be granted, and Plaintiff’s second motion to file

certain documents under seal and certain documents publicly will

be granted in part and denied in part.              A separate order will

follow.



                                                     /s/
                                           DEBORAH K. CHASANOW
                                           United States District Judge




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